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11
                            UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                   WESTERN DIVISION
14
15   UNITED STATES OF AMERICA,               No. CV 17-8757

16             Plaintiff,                    VERIFIED COMPLAINT FOR FORFEITURE

17                   v.                      18 U.S.C. § 981(a)(1)(C) and
                                             21 U.S.C. § 881(a)(6)
18   $60,300.00 IN U.S. CURRENCY,
                                             [DEA]
19             Defendant.
20
21        The United States of America brings this claim against the
22   defendant $60,300.00 in U.S. Currency, and alleges as follows:
23
                                JURISDICTION AND VENUE
24
          1.   This is a civil forfeiture action brought pursuant to 18
25
     U.S.C. § 981(a)(1)(C) and 21 U.S.C. § 881(a)(6).
26
          2.   This Court has jurisdiction over the matter under 28 U.S.C.
27
     §§ 1345 and 1355.
28
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1         3.    Venue lies in this district pursuant to 28 U.S.C.
2    § 1395(b).
3                                PERSONS AND ENTITIES
4         4.    The plaintiff in this action is the United States of
5    America.
6         5.    The defendant is $60,300.00 in U.S. Currency (the
7    “defendant currency”), seized by law enforcement officers from the
8    luggage of Stephen A. Clemons (“Clemons”) on February 7, 2017, at Los
9    Angeles International Airport (“LAX”) in Los Angeles California.
10        6.    The defendant currency is currently in the custody of the
11   United States Marshals Service in this District, where it shall
12   remain subject to the jurisdiction of this Court during the pendency
13   of this action.
14        7.    The interests of Clemons may be adversely affected by these
15   proceedings.
16                         EVIDENCE SUPPORTING FORFEITURE
17        8.    On or about Tuesday, February 7, 2017, officers from the
18   Drug Enforcement Administration (“DEA”) and the Los Angeles Sheriff’s
19   Department (“LASD”) assigned to the Los Angeles International Airport
20   Narcotics Task Force (“LAXNTF”) received information regarding the
21   suspicious travel itinerary of Clemons, who was traveling that day
22   from Delaware to Los Angeles on a one-way ticket purchased the day
23   before.
24        9.    After Clemons’ flight landed at LAX, officers observed him
25   at baggage claim.
26        10.   LASD Detective Moore (“Detective Moore”) approached
27   Clemons, identified himself as police and, without blocking Clemons’
28   path, asked Clemons if Clemons would agree to speak about his travel
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1    plans while in Los Angeles.      Clemons agreed and told officers that he
2    was visiting from Delaware.      Clemons said he planned on staying in
3    Los Angeles until “maybe this Sunday,” which was five days later.
4         11.    Clemons said that he had purchased his ticket approximately
5    one week earlier, but Detective Moore knew this to be a lie because
6    LAXNTF had received information that Clemons had purchased his ticket
7    on February 6, 2017, just one day before traveling.
8         12.    Detective Moore asked Clemons if Clemons was traveling with
9    a large amount of currency or drugs.       Clemons responded that he did
10   not have any drugs but had approximately $40,000.00.          Clemons also
11   stated that he did not want to draw attention while going through the
12   security check point at the airport in Delaware.
13        13.    Clemons agreed to accompany Detective Moore to the LAX DEA
14   office to discuss the origin of the currency in Clemons’ possession
15   and the purpose of his trip to Los Angeles.         Clemons kept both pieces
16   of luggage and his backpack in his possession while enroute to the
17   LAX DEA office.
18        14.    At the LAX DEA office, Clemons consented to a search of his
19   luggage and backpack.     Officers discovered several large bundles of
20   U.S. currency in Clemons’ carry-on backpack.         The currency in the
21   backpack was in a black and white plaid pouch concealed in layers of
22   clothes in the backpack.     Officers found a second pouch in Clemons’
23   checked luggage, containing similarly wrapped large bundles of U.S.
24   currency.   The total in Clemons’ possession was determined to be
25   $60,300.00.   Officers also found a label printer and a roll of self-
26   adhering shipping labels in Clemons’ second checked suitcase.
27        15.    Los Angeles is a source city for illegal drugs and Delaware
28   is a destination state.     It is common for drug traffickers in drug

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1    destination locations, such as Delaware, to bring large sums of money
2    to Los Angeles to purchase controlled substances in Los Angeles.
3    They then ship those illegal drugs to destination locations to avoid
4    being apprehended with drugs on hand.        Drug traffickers prefer to use
5    label makers to label the drug packages because printed labels (as
6    opposed to handwritten labels) lessen the likelihood of suspicion
7    from law enforcement.
8         16.   Based on Clemons’ actions fitting an oft observed drug
9    trafficking pattern, officers requested a drug detecting canine.            Los
10   Angeles Police Department officer Dolores Suviate responded to the
11   LAX DEA office with her trained and certified drug detecting canine
12   “Smithy,” who positively alerted to the odor of narcotics on the
13   defendant currency. 1
14        17.   A law enforcement data base search revealed that Clemons
15   has a criminal history including a drug trafficking conviction.
16        18.   Based on the above, plaintiff alleges that the defendant
17   currency represents or is traceable to proceeds of illegal drug
18   trafficking and/or was intended to be used in one or more exchanges
19   for a controlled substance or listed chemical, in violation of 21
20   U.S.C. § 841 et seq.     The defendant currency is therefore subject to
21
22
          1 “Smithy” was placed into service on January 15, 2013. “Smithy”
23   alerts upon detecting the odor of the drugs marijuana, cocaine,
     heroin, opium, and methamphetamine. On January 4, 2016, the Los
24   Angeles Police Department and the National Police Canine Association
     certified “Smithy” and his handler as a team for use. “Smithy” has
25   received over 500 hours of training, during which he has successfully
     found over 2,583 training aids consisting of actual drugs. Smithy has
26   been successfully used in over 278 cases in which controlled
     substances have been found. Smithy is responsible for the seizure of
27   over 14 pounds of cocaine, 13 pounds of heroin, 650 pounds of
28   marijuana, and 107 pounds of methamphetamine.

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1    forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 21 U.S.C.
2    § 881(a)(6).
3         WHEREFORE, plaintiff United States of America prays:
4         (a)   that due process issue to enforce the forfeiture of the
5    defendant currency;
6         (b)   that due notice be given to all interested parties to
7    appear and show cause why forfeiture should not be decreed;
8         (c)   that this Court decree forfeiture of the defendant currency
9    to the United States of America for disposition according to law; and
10        (d)   for such other and further relief as this Court may deem
11   just and proper, together with the costs and disbursements of this
12   action.
13   DATED: December 5, 2017           SANDRA R. BROWN
                                       Acting United States Attorney
14                                     LAWRENCE S. MIDDLETON
15                                     Assistant United States Attorney
                                       Chief, Criminal Division
16                                     STEVEN R. WELK
                                       Assistant United States Attorney
17                                     Chief, Asset Forfeiture Section
18
                                        /s/ Yasin M. Almadani
19                                     YASIN M. Almadani
                                       Assistant United States Attorney
20
21                                     Attorneys for Plaintiff
                                       United States of America
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    1                                   VERIFICATION
    2        I, Marlon Coronado, declare and say that:
    3        1.    I am a Task Force Officer with the Drug Enforcement
    4   Administration.
    5        2.    I have read the attached Verified Complaint for Forfeiture
    6   and know the contents thereof.
    7        3.    The information contained in the Complaint is either known
    8   to me personally, was furnished to me by official government sources,
    9   or obtained pursuant to subpoena.      I am informed and believe that the
10      allegations set out in the Complaint are true.
11           I declare under penalty of perjury under the laws of the United
12      States that the foregoing is true and correct.
13           EXECUTED this ~'uay of September 2017 at Los Angeles,
14      California.
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17                                         Task Force Officer - DEA
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